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                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

  MAXELL HOLDINGS, LTD.,

         Plaintiff,

          v.                                          Civil Action No. 6:21-CV-347-ADA

 AMPEREX TECHNOLOGY LIMITED,

         Defendant.


    DEFENDANT’S OPPOSED MOTION TO AMEND THE SCHEDULING ORDER
      TO EXTEND THE TECHNICAL DOCUMENT PRODUCTION DEADLINE

       Due to a newly implemented Chinese law that prohibits the transfer of technical data out

of China to foreign legal proceedings, Defendant Amperex Technology Limited (“ATL”) moves

the Court to extend its deadline for the technical document production by thirty (30) days to

October 11, 2021, and would show the Court as follows:

       On September 1, 2021, the Data Security Law of the People’s Republic of China (“PRC

Data Security Law”) became effective. See Declaration of Fanghua Liu, attached as Exhibit A at

¶ 3. This law provides, in part, that “no organization or individual within the territory of the [PRC]

may provide foreign judicial or law enforcement authorities with the data stored within the territory

of the [PRC] without the approval of the competent authorities of the [PRC].” Id. at ¶ 4. Violating

the PRC Data Security Law has “serious penalties” including personal minimum fines between

10,000-100,000 yuan, “and the organization may be ordered to suspend relevant business, suspend

the operation for rectification, or its relevant business permit or business license will be revoked .

. . .” Id. at ¶ 8. Included within Exhibit A is a copy of the certified translation of the PRC Data

Security Law. Id. at ¶ 3, Ex. 2.



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       Pursuant to the Court’s Scheduling Order (Dkt. 19), and in accordance with the Court’s

Order Governing Proceedings – Patent Case, Ver. 3.4 (“OGP”), ATL is required to serve its

preliminary invalidity contentions on September 10, 2021. Dkt. 19 at 1. Additionally, ATL “shall

also produce . . . technical documents, including software where applicable, sufficient to show the

operation of the accused product(s).” Id. ATL intended, planned, and was prepared to produce

these technical documents in accordance with the Scheduling Order.

       While collecting technical documents to comply with the Court’s OGP, but before it had

completed its document collection and processing for provision to outside counsel, ATL learned

about the pending PRC Data Security Law. See Declaration of Hanjing Xiao (“ATL Decl.”),

attached as Exhibit B at ¶ 5. ATL sought outside legal guidance regarding the applicability of this

law. Exhibit A at ¶¶ 6, 7, 9; Exhibit B at ¶ 6. ATL also has sought guidance from the China

government regarding its obligations and sought permission to provide the requested technical

documentation. Exhibit B at ¶¶ 9-12 ; Exhibit A at ¶ 10. This law went into effect just one week

ago, and nine (9) days before ATL is required to comply with a technical document production per

the Scheduling Order. See Exhibit A at ¶ 3.

       Per the guidance from outside legal counsel in China, compliance with the Court’s

Scheduling Order to produce highly confidential technical documentation regarding the operation

of ATL’s lithium ion battery products risks violation of the PRC Data Security Law. Id. at ¶ 7.

Although ATL is a Hong Kong company, all of the technical documentation required for

production regarding ATL’s lithium ion battery products is located and held in mainland China,

primarily at ATL’s Ningde location. Exhibit B at ¶ 7. Because the data is located in China and

with ATL’s mainland China affiliate, it appears that the law applies to the documents required by

the Court for production under the Scheduling Order. Id. Accordingly, in order to avoid severe




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sanctions, including the potential that it could cease to exist, ATL must gain express approval from

the authorities of the PRC to provide Plaintiff (or even this Court) with the technical documents

that ATL is required to produce pursuant to the Scheduling Order and the Court’s OGP. Exhibit A

at ¶ 7.

          Whereas ATL’s entire business could be threatened if the Court does not grant relief,

Plaintiff would not be prejudiced by the temporary relief sought by ATL to ensure it is in

compliance with PRC law. The claim construction hearing is over four months away. The parties

still have pending jurisdictional motions which will not be resolved until November 2021 at the

earliest. Even after this, there will be seven months of fact discovery, ensuring more than sufficient

time for Plaintiff to understand the technical operation of ATL’s products. ATL has already

submitted that this duplicative litigation is improperly before the W.D. of Texas due to the first-

filed case in New Jersey as explained in its pending motion to dismiss (Dkt. 10). The technical

operation of ATL’s products is not a relevant consideration for these jurisdictional issues or even

claim construction issues. ATL understands that the production of technical documents in this

early stage can serve some purposes such as potential settlement, however, the parties are engaging

in ongoing settlement discussions, and Maxell has had access to and investigated ATL’s physical

products for well over a year. Exhibit B at ¶ 13 .

          ATL met and conferred with Plaintiff on this request. Plaintiff opposed ATL’s requested

relief and did not propose any reasonable alternative that would permit ATL an opportunity to

ensure that it would not be in violation of the newly passed PRC law. Instead, Plaintiff argued that

the law was inapplicable to ATL, citing a website last updated in April of this year that allegedly

lists all China laws applicable in Hong Kong and ignoring that ATL disclosed that the relevant

technical information was in ATL’s mainland China location. ATL submits that Plaintiff’s




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opposition is not well taken as its U.S. counsel appears to rely upon a misunderstanding of the

PRC Data Security Law and minimizes the severe risk posed to ATL for any violation of that law.

Moreover, Plaintiff’s position that ATL should have known about the law in sufficient time in

advance of its effective date, had sufficient time to collect the documents required for production,

had sufficient time to process these documents and export them to the United States for this case,

and have known with certainty that such efforts would not be in violation of the PRC Data Security

Law strains credulity. It improperly seeks to advance the September 10 deadline to an earlier time

and dictates when and how a large, foreign institution is required to identify, collect, process and

export for production relevant documents. It also unfairly imposes upon ATL an obligation that

its legal team knew of and appreciated the impact of the law in sufficient time to act in this case

and obtain clearance from the PRC government in little more than a week between the law’s

effective date and this Court’s deadline.

       ATL promptly sought counsel regarding the PRC Data Security Law, which became

effective on September 1, 2021. Exhibit B at ¶ 6. ATL also promptly requested guidance from

the PRC government regarding its planned data export activities to comply with its obligations in

this case even before the PRC Data Security Law went into effect. Exhibit B at ¶¶ 9-12. ATL has

proceeded reasonably in the face of this issue and rejects Plaintiff’s argument that would

unreasonably require that ATL risk punitive actions by the China government just to rush out

documents in an effort to subvert the PRC law.

       ATL’s request for this relief—a thirty (30) day extension to obtain the necessary clearance

from the China government so as not to be in violation of the PRC law—is not for any bad faith

or tactical reason. It is simply to ensure that in complying with this Court’s Scheduling Order and




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OGP, it does not risk significant fines and harm to the very existence of its business as an ongoing

concern.

       ATL has collected the technical documents and prepared them for production in order to

meet the deadlines in this case. Although ATL cannot guarantee that it will have sufficient

guidance from the China government in the 30 days it seeks for relief, it does believe this extension

would at least allow further discussions with the relevant China authorities in order to obtain the

necessary clearance. Requiring ATL to produce technical documents now, which it has explained

it cannot do without any relief, unfairly places ATL in the untenable predicament of complying

with this Court’s directive or risking a direct violation of a new China law which could result in

the forfeiture of its business. ATL seeks due process to be given a sufficient and reasonable

amount of time to attempt to resolve the issue with the China government.

       ATL will comply with its other document production requirements including a full

production of all prior art and materials relied upon in its forthcoming invalidity contentions. This

ensures that Plaintiff will have all material needed for the upcoming scheduled claim construction

disclosures and briefing.

       Based on the foregoing as good cause shown, ATL seeks a thirty (30) day extension to

produce the technical documents currently due on September 10, 2021. Dkt. 19.

                                                   Respectfully submitted,

 Dated: September 9, 2021                            /s/ Rose Cordero Prey

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                                                    TECHNOLOGY LIMITED



                            CERTIFICATE OF CONFERENCE

       I hereby certify that on September 8 and 9, 2021, I discussed the issues raised herein with

counsel for Maxell but was unable to reach an agreement. Maxell indicated that it opposed the

ATL’s requested relief.


                                                      /s/ Rose Cordero Prey
                                                      Rose Cordero Prey




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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 9, 2021, I caused a true and correct copy of the foregoing

to be electronically filed using the Court’s CM/ECF system and thus served on all counsel of

record who are deemed to have consented to electronic service.


                                                     /s/ Rose Cordero Prey
                                                     Rose Cordero Prey




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